Case 3:16-cv-00545-REP Document 375 Filed 09/22/17 Page 1 of 6 PageID# 5824



                                  UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF VIRGINIA
                                       RICHMOND DIVISION


STEVES AND SONS, INC.,                             )
                                                   )
                         Plaintiff,                )
                                                   )
        v.                                         )       Civil Action No. 3:16-CV-00545-REP
                                                   )
JELD-WEN, INC.,                                    )
                                                   )
                         Defendant.                )
                                                   )


DEFENDANT JELD-WEN, INC.’S MOTION FOR PARTIAL SUMMARY JUDGMENT
 ON COUNTS I AND IV OF PLAINTIFF STEVES AND SONS, INC.’S COMPLAINT

        Defendant JELD-WEN, Inc. (“JELD-WEN”), by counsel, pursuant to Rule 56 of the

Federal Rules of Civil Procedure, hereby moves for an order granting summary judgment on

Counts I and IV of the Complaint filed by Plaintiff Steves and Sons, Inc. (“Steves”) on June 29,

2016.

        As set forth more fully in the accompanying memorandum of law, the grounds for this

motion are as follows:

        1.     Steves’ claim under Section 4 of the Clayton Act fails because JELD-WEN’s

alleged breach of the Supply Agreement does not constitute antitrust injury, as a matter of law.

        2.     Steves’ Section 4 claim also fails because Steves has conceded that it has not

presented any evidence of the prices that it would have paid, or the quality of doorskins that

would have been different, in the absence of JELD-WEN’s acquisition of Craftmaster, Inc.

(“CMI”). Proof of contract damages, i.e., the difference between the prices that Steves paid, and

those it would have paid if JELD-WEN had not allegedly breached the contract, or proof of what
Case 3:16-cv-00545-REP Document 375 Filed 09/22/17 Page 2 of 6 PageID# 5825



JELD-WEN allegedly owes Steves for defective doorskins, does not constitute proof of impact

from the alleged antitrust violation, as a matter of law.

       3.      Steves’ claim for future lost profits damages under Section 4 of the Clayton Act

fails because Steves cannot recover future damages based on an injury that has not yet occurred,

and that is based on a contingent and speculative chain of events that may or may not occur at

some point in the future. Thus, Steves does not have constitutional standing to pursue this claim.

       4.      Steves is not entitled to divestiture under Section 16 of the Clayton Act as a

matter of law. Steves’ claim for relief is barred by the doctrine of laches because Steves

inexcusably delayed for years in bringing this lawsuit, while JELD-WEN integrated the

operations, employees, and assets of CMI into its own company. Steves’ claims for future

threatened antitrust injury are also impermissibly speculative, rendering divestiture unavailable

as a matter of law.

       5.      This Court lacks jurisdiction to consider Steves’ request for declaratory judgment

regarding the termination date of the Supply Agreement (Count IV). JELD-WEN has agreed to

the termination date requested by Steves in Count IV and that JELD-WEN will continue to

supply Steves with doorskins until that date. There is no case or controversy for the Court to

decide regarding the effective termination date of the Supply Agreement.




Dated: September 22, 2017                      Respectfully submitted,

                                               JELD-WEN, Inc.

                                               By counsel

                                               /s/Harrison M. Gates
                                               Michael W. Smith (VSB #01125)

                                                  2
Case 3:16-cv-00545-REP Document 375 Filed 09/22/17 Page 3 of 6 PageID# 5826



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                                     3
Case 3:16-cv-00545-REP Document 375 Filed 09/22/17 Page 4 of 6 PageID# 5827



                                  CERTIFICATE OF SERVICE

       I hereby certify that on the 22nd day of September 2017, I will electronically file a copy

of the foregoing with the Clerk of Court using the CM/ECF system, which will then send a

notification of such filing (NEF) to the registered participants as identified on the NEF to receive

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Case 3:16-cv-00545-REP Document 375 Filed 09/22/17 Page 5 of 6 PageID# 5828



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Case 3:16-cv-00545-REP Document 375 Filed 09/22/17 Page 6 of 6 PageID# 5829




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